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          IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                                 COLORADO

     Michael Abbondanza,
     Tavin Foods, Inc.
                     Plaintiffs,

     v.

     Jason Weiss,
     Weiss Law Group, PC,
     Brett Huff,
     Richard Leslie,
     Huff and Leslie, LLP,
     Peter Leiner,
     Giovannia Paloni,
                     Defendants.

                MOTION FOR ADDITIONAL LIMITED EXPEDITED DISCOVERY

          Plaintiffs, through their undersigned counsel, file this Motion for Additional Limited

 Expedited Discovery in order to attempt to serve Defendant Giovannia Paloni, stating as follows:

          I.      RULE 7.1 CERTIFICATE OF CONFERRAL

          Plaintiffs conferred with Defendants and Defendants oppose the relief requested herein.

          II.     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ LIMITED EXPEDITED
                  DISCOVERY REQUEST AND PLAINTIFFS’ EFFORTS TO SERVE
                  DEFENDANT PALONI SINCE FILING THE STATUS REPORT WITH
                  THE COURT ON OCTOBER 2, 2019

          Pursuant to the Court’s order on November 12, 2019 granting, in part, Plaintiffs’ request

 for limited expedited discovery, Plaintiffs served their First Set of Written Discovery Requests on

 November 18, 2019. (See Ex. 1). Defendants responded to the request on December 2, 2019

 (See Weiss Defendants’ Response, attached hereto as Ex. 2, and Huff and Leslie Defendants’

 Response, attached hereto as Ex. 3.) Defendants Huff, Leslie, and Huff & Leslie, LLP (“Huff

 Defendants”) stated they did not have any contact information for Ms. Paloni, other than what

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 Plaintiffs had identified in their Status Report of October 3, 2019 (ECF 38). Defendants Weiss,

 Leiner, and Weiss Law Group, P.A. (“Weiss Defendants”) stated they had one email address that

 was not contained in Plaintiffs’ Status Report and provided the email address to Plaintiffs. No

 additional contact information for Ms. Paloni was provided, other than the email address. On

 December 28, 2019, Plaintiffs’ Counsel attempted to contact Ms. Paloni using the email address

 provided by the Weiss Defendants. (see email to Ms. Paloni, attached hereto as Ex. 4). As of the

 filing of this Status Update, Plaintiffs’ Counsel has received no response from Ms. Paloni.

        III.    PLAINTIFFS’ REQUEST FOR ADDITIONAL LIMITED EXPEDITED
                DISCOVERY

        On December 19, 2019, approximately two weeks after Defendants responded to

 Plaintiffs’ Limited Expedited Discovery Request with one email address and no other contact

 information for Ms. Paloni, the Weiss Defendants filed a Motion for Judgment on the Pleadings,

 which the Huff Defendants moved to join on January 9, 2020. In the Motion for Judgment on the

 Pleadings, Defendants represented that Giovannia Paloni is a “long-time acquaintance of Mr.

 Abreu.” Defendants further represented that Mr. Abreu “contacted Ms. Paloni, who was also in

 the Denver area at the same time as Mr. Abreu” and that “Ms. Paloni visited the Premises on July

 14, 2015, took photographs, made observations, and prepared a report regarding her findings.”

 (see ECF 49, p. 4 (citing ECF 8-1, Ex. 5).) If Mr. Abreu is a long-time acquaintance of Ms.

 Paloni, and if Mr. Abreu does exist, which Defendants adamantly assert, but Plaintiffs in no way

 concede, then given Defendants’ lengthy amount of time working with Mr. Abreu during the

 pendency of all of the underlying ADA lawsuits, including the one against Plaintiffs, Defendants

 should be able to contact Mr. Abreu, who should have no difficulty providing Ms. Paloni’s phone

 number, address and any other relevant contact information for Ms. Paloni.

        Moreover, if Ms. Paloni did, in fact, visit Riverbend Eatery on July 14, 2015, as

 represented by Defendants in the Motion for Judgment on the Pleadings, then Ms. Paloni certainly

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 would have been compensated by either the Weiss Defendants, the Huff Defendants, or both, for

 her time traveling to, inspecting, and writing a report concerning Riverbend Eatery. Defendants

 likely would have received invoices from Ms. Paloni for her work on the underlying lawsuit, as

 well as on the numerous other cases on which she performed work for Defendants. The Weiss

 Defendants even admit in their Response to Plaintiffs’ Request for Limited Expedited Discovery

 that for Weiss to produce ‘all documents and communications that identify an address or other

 identifying information for Defendant Giovannia Paloni’ would be unduly burdensome and would

 all show the same thing, an email address that Weiss uses to communicate with Paloni.” (See Ex.

 2).

          In light of the representation by Defendants that Ms. Paloni is a long-time acquaintance of

 Mr. Abreu, that Ms. Paloni visited Riverbend Eatery on July 14, 2015 with Mr. Abreu, and that

 Defendant Weiss and Ms. Paloni have “worked together on numerous cases and matters,” it

 seems hard to believe that Defendants have no contact information beyond an email address for

 Ms. Paloni and that the only way Defendant Weiss ever communicated with Ms. Paloni was via

 email, when Ms. Paloni clearly had to have been compensated for her work on the “numerous

 cases and matters” on which Paloni and Weiss worked together. Based on this newly-acquired

 information that was raised in Defendants’ Motion for Judgment on the Pleadings, Plaintiffs

 respectfully request that they be allowed to conduct the following additional expedited discovery

 to identify Defendant Paloni’s whereabouts, in order that she be served:

       1. Invoices from Paloni received by Defendants for work she performed in the
          underlying case.

       2. Receipts submitted by Paloni to Defendants for travel and other expenses related to the
          underlying case, including receipts for hotel, car rental, gas, and food expenses.

       3. Copies of receipts or cancelled checks for payments made by Defendants to Paloni.

       4. The address(es) where payments were sent by Defendants to Paloni.


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    5. The phone number(s) for Paloni that Mr. Abreu used to contact her when he was in Denver
       on July 14, 2015.

    6. The fee agreement(s) between Defendants and Paloni for her work on the underlying
       lawsuit.


         IV.    PRAYER FOR RELIEF

         Plaintiffs respectfully ask the Court to grant their Motion for Additional Expedited

 Discovery and allow them to serve the following Requests for Production with a 14-day response

 time:

    1. Invoices from Paloni received by Defendants for work she performed in the
       underlying case.

    2. Receipts submitted by Paloni to Defendants for travel and other expenses related to the
       underlying case, including receipts for hotel, car rental, gas, and food expenses.

    3. Copies of receipts or cancelled checks for payments made by Defendants to Paloni.

    4. The address(es) where payments were sent by Defendants to Paloni.

    5. The phone number(s) for Paloni that Mr. Abreu used to contact her when he was in Denver
       on July 14, 2015.

    6. The fee agreement(s) between Defendants and Paloni for her work on the underlying
       lawsuit.


  RESPECTFULLY submitted on this 16th day of January 2020.

                                                 LAW OFFICES OF COURTENAY PATTERSON
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                                                 Attorney for Plaintiff




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 16th day of January 2020, I electronically filed the foregoing
 Status Update regarding Plaintiffs’ attempts to serve Defendant Paloni and Request for Additional
 Limited Expedited Discovery with the Clerk of Court using the CM/ECF service, which provided
 electronic service to the following:


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